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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                                      CRIMINAL ACTION

VERSUS                                                                   No. 14-168

LANCE SINGLETON                                                         SECTION I



                                       ORDER

      Before the Court is pro se petitioner Lance Singleton’s (“Singleton”) motion to

vacate, set aside, or correct his sentence pursuant to 28 U.S.C. § 2255. R. Doc. No.

798. For the following reasons, the motion is denied.

                                          I.

      From January 2010 through October 2012, Singleton conspired with several

others to distribute and to possess with the intent to distribute heroin and cocaine.

R. Doc. No. 401. Singleton typically carried guns in furtherance of the conspiracy’s

drug trafficking activity. Id. In September 2015, Singleton pleaded guilty to four

counts of a sixteen-count superseding indictment charging various drug and firearm

violations. R. Doc. No. 400. As part of his guilty plea, Singleton tendered a plea

agreement with an appellate and collateral challenge waiver, which stated that he

“knowingly and voluntarily . . . [waived] and [gave up] any right to challenge his

sentence collaterally.”   Id. at 3.   This Court sentenced Singleton to a term of

imprisonment of 228 months. R. Doc. No. 536.
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      Singleton pursued a direct appeal of his sentence on the grounds that his

guideline range was improperly calculated. See R. Doc. No. 783. Specifically, he

argued that the United States Sentencing Guidelines precluded this Court from

applying a two-level dangerous weapon enhancement in calculating his offense level.

Id. The Fifth Circuit dismissed the appeal, finding that Singleton waived his right

to appeal his sentence. Id.

      Singleton now seeks collateral review of his sentence. R. Doc. No. 798. He also

raises several ineffective assistance of counsel claims and argues that the sentencing

enhancement applied in his case is unconstitutionally vague in light of recent

Supreme Court precedent. Id. The Court considers each of these arguments in turn.

                                           II.

      Singleton has, for the most part, waived his right to collateral review of his

sentence. His plea agreement provides:

             [T]he defendant, in exchange for the promise(s) and
             agreement(s) made by the United States in this plea
             agreement, knowingly and voluntarily . . . [w]aives and
             gives up any right to challenge his sentence collaterally,
             including but not limited to any and all rights which arise
             under Title 28, United States Code, Sections 2255 and
             2241, Rule 60 of the Federal Rules of Civil Procedure, Rule
             36 of the Federal Rules of Criminal Procedure, writs of
             coram nobis and audita querela, and any other collateral
             challenges to his sentence of any kind . . . The defendant []
             retains the right to raise a claim of ineffective assistance of
             counsel in an appropriate proceeding.

R. Doc. No. 400, at 3. Singleton, his attorney, and the assistant United States

attorney signed the agreement on September 21, 2015. Id. at 5. Singleton now argues

that his counsel’s “failure to inform [him] of the significance of the plea waiver


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rendered the plea agreement unkowing [sic] and involuntary.” R. Doc. No. 798, at 4.

The Court disagrees.

      “A waiver is knowing and voluntary where the defendant indicates at the plea

hearing that he has read and understands the plea agreement containing the waiver.”

United States v. Donahue, 333 Fed. App’x 897, 898 (5th Cir. 2009) (citing United

States v. McKinney, 406 F.3d 744, 746 (5th Cir. 2005)).          The defendant must

understand that he has a right to collateral review and that he is giving up that right.

United States v. Jacobs, 635 F.3d 778, 781 (5th Cir. 2011) (citation and quotation

omitted). “[W]hen the record . . . clearly indicates that a defendant has read and

understands his plea agreement, and that he raised no question regarding a waiver-

of-appeal provision, the defendant will be held to the bargain to which he agreed.”

United States v. Portillo, 18 F.3d 290, 293 (5th Cir. 1994).

      On September 21, 2015, Singleton appeared before the Court for

rearraignment. See R. Doc. No. 650. At that time, he indicated under oath that he

fully understood both the charges against him and the maximum possible sentence

he would face if he pleaded guilty. Id. at 16–19. He further attested that he read his

plea agreement, that he understood it, that he did not disagree with anything in it,

that nothing was left out of it, and that he did not wish to have any of the plea

provisions explained to him. Id. at 35. He also stated that he understood he was

waiving his right to direct appeal as well as his right to contest his conviction and

sentence in any collateral proceeding under § 2255. Id. at 28.




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      As the Fifth Circuit observed in dismissing Singleton’s direct appeal of his

sentence, “Singleton knowingly and voluntarily waived his right to appeal his

sentence, as evidenced by the plain language of the plea agreement and the

assurances provided by the lengthy plea colloquy with the district court. Singleton

does not dispute this.” R. Doc. No. 783, at 3. The plea agreement was abundantly

clear, and Singleton accepted it in open court. The Court now holds him to his

bargain. Accordingly, Singleton’s challenge to his sentence will be dismissed.

                                          III.

      Under the terms of his written plea agreement, Singleton retained the right to

raise ineffective assistance of counsel claims. R. Doc. No. 400, at 3. Despite indicating

at his rearraignment that he was entirely satisfied with the advice and services of

counsel, R. Doc. No. 650, at 23, Singleton now argues that his lawyer’s performance

was ineffective in three separate respects: (1) “for allowing [him] to sign a plea

agreement that contained a waiver of appeal”; (2) “for not doing adequate pre-trial

investigation”; and (3) “for not filing a pre-trial motion to dismiss.” R. Doc. No. 798,

at 4–5. Each of these arguments is meritless.

                                           A.

      Ineffective assistance of counsel claims are governed by the standard

established in Strickland v. Washington, 466 U.S. 668 (1984). Strickland’s two-part

test requires a petitioner to prove both deficient performance and resulting prejudice.

Strickland, 466 U.S. at 687.




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      Deficient   performance     is    established   by   “show[ing]   that   counsel’s

representation fell below an objective standard of reasonableness.” Id. at 688. In

applying this standard, a “court must indulge a ‘strong presumption’ that counsel’s

conduct falls within the wide range of reasonable professional assistance because it

is all too easy to conclude that a particular act or omission of counsel was

unreasonable in the harsh light of hindsight.” Bell v. Cone, 535 U.S. 685, 702 (2002)

(quoting Strickland, 466 U.S. at 689). In other words, “judicial scrutiny of counsel’s

performance must be highly deferential.” Strickland, 466 U.S. at 689.

      A showing of prejudice requires “a reasonable probability that, but for counsel’s

unprofessional errors, the result of the proceeding would have been different.” Id. at

694. With respect to guilty pleas, the prejudice requirement “focuses on whether

counsel's constitutionally ineffective performance affected the outcome of the plea

process.” Hill v. Lockhart, 474 U.S. 52, 59 (1985). Thus, in challenging a guilty plea

on grounds of ineffective assistance, a petitioner must show “that there is a

reasonable probability that, but for counsel’s errors, he would not have pleaded guilty

and would have insisted on going to trial.” Id.

      The petitioner must satisfy both prongs of the Strickland test in order to be

successful on an ineffective assistance claim. See Strickland, 466 U.S. at 687. A court

is not required to address these prongs in any particular order. Id. at 697. If it is

possible to dispose of an ineffective assistance of counsel claim without addressing

both prongs, “that course should be followed.” Id.




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                                            i.

      Singleton first argues that his counsel was ineffective for permitting him to

enter a plea that included a waiver of appeal with regard to his sentence. R. Doc. No.

798, at 4. He claims his lawyer’s advice was erroneous because the Court applied a

two-level enhancement to his sentence based on the fact that a firearm was possessed

in connection with the offense. Id. However, Singleton can show no error on the part

of counsel “that affected [his] understanding of the consequences of pleading guilty.”

Cf. Lee v. United States, 137 S. Ct. 1958, 1965 (2017) (holding that a defendant

demonstrated a reasonable probability that he would not have pleaded guilty had he

known he would face mandatory deportation as a result and that defense counsel’s

improper advice on that issue prejudiced the defendant and constituted ineffective

assistance).

      At Singleton’s rearraignment hearing, the Court gave an extensive explanation

of the charges Singleton faced, the maximum sentence that could be imposed upon

conviction or a plea of guilty, the rights to which Singleton was entitled, and the

consequences of waiving those rights. The waiver of appeal, of which Singleton now

complains, was addressed at great length in the following exchange:

               THE COURT: So listen up. As part of your plea
               agreement, you have waived your right in most respects to
               appeal your conviction and/or your sentence. Do you
               understand that in addition to giving up your right to a
               direct appeal, you have further waived your right to contest
               your conviction and/or your sentence in any collateral
               proceeding pursuant to 28 U.S.C. §§ 2255 and 2241, which
               allow defendants to challenge whether their sentence
               and/or conviction were constitutional? Do you understand
               that?


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        THE DEFENDANT: Yes, sir.

        THE COURT: You reserve the right, however, to bring a
        direct appeal of any sentence imposed in excess of the
        statutory maximum. Now, you have heard the assistant
        U.S. attorney talk about the waiver with respect to
        ineffective assistance of counsel. I'm going to give you some
        more detail about that and that's what will govern, not
        what's broadly in the plea agreement. You may also
        challenge your conviction or sentence if you can show that
        you received ineffective assistance of counsel and the
        claimed ineffective assistance directly affected the validity
        of your plea or the waiver of appeal. The waiver of appeal
        in a plea agreement would also not be enforced to bar a
        direct appeal where the superseding indictment did not
        state an offense and/or where the factual basis for the plea
        did not show the commission of an offense. Otherwise, you
        have no right to appeal or collaterally attack your
        conviction and/or sentence. Do you understand that?

        THE DEFENDANT: Yes, sir.

        THE COURT: Do you understand that with the exception
        of the situations I just listed, you are waiving your right to
        appeal or contest your guilty plea, fine, and any restitution
        imposed by any judge under any applicable restitution
        statute, including but not limited to your right to appeal
        any rulings on pretrial motions of any kind? Do you
        understand that?

        THE DEFENDANT: Yes, sir.

        THE COURT: With the exception of the situations I have
        previously listed, you are waiving your right to appeal or
        contest your sentence in certain respects. Do you
        understand that means you are waiving your right to
        appeal a final sentence that was imposed in violation of law
        unless such sentence exceeded the statutory maximum? Do
        you understand that?

        THE DEFENDANT: Yes, sir.




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        THE COURT: You are waiving your right to appeal a final
        sentence that was imposed as result of an incorrect
        application of sentencing guidelines. Do you understand
        that?

        THE DEFENDANT: Yes, sir.

        THE COURT: You are waiving your right to appeal a final
        sentence that is greater than the guideline range, including
        a sentence that includes a greater fine, term of
        imprisonment, probation, or supervised release than the
        maximum established by the guideline range. Do you
        understand that?

        THE DEFENDANT: Yes, sir.

        THE COURT: You are waiving your right to appeal a final
        sentence that includes a more limiting condition of
        probation or supervised release than the maximum
        established in the guideline range. Do you understand
        that?

        THE DEFENDANT: Yes, sir.

        THE COURT: You are waiving your right to appeal a final
        sentence that was imposed for an offense for which there is
        no sentencing guideline and is plainly unreasonable. Do
        you understand that?

        THE DEFENDANT: Yes, sir.

        THE COURT: Do you understand that you are waiving
        and giving up any right you might have to contest or appeal
        any order, decision, or judgment arising out of or related to
        18 U.S.C. § 3582(c)(2) with respect to a sentence of
        imprisonment based on sentencing guidelines that the
        Sentencing Commission has subsequently lowered?

        THE DEFENDANT: Yes, sir.

        THE COURT: Do you want me to repeat that? Do you
        want me to repeat that?

        THE DEFENDANT: Yes, sir.


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        THE COURT: Do you understand you are waiving and
        giving up any right you might have to contest or appeal any
        order, decision, or judgment arising out of or related to a
        provision of Title 18 with respect to a sentence of
        imprisonment based on a sentencing guideline range that
        the Sentencing Commission has subsequently lowered? Do
        you understand that?

        THE DEFENDANT: Yes, sir.

        THE COURT: Basically, what it means is that if I
        sentence you based on a sentencing guideline and the
        Sentencing Commission later changes that guideline and
        lowers it, you will have no right to complain that you
        should have been sentenced under a lower guideline. Do
        you understand that?

        THE DEFENDANT: Yes, sir.

        THE COURT: Do you understand you are waiving and
        giving up your right to challenge any U.S. Sentencing
        Guidelines determinations and their application by any
        judge to your sentence and judgment?

        THE DEFENDANT: Yes, sir.

        THE COURT: Do you understand you are waiving and
        giving up your right to collaterally challenge your sentence,
        including but not limited to any rights which arise under
        the U.S. Code, Federal Rules of Civil Procedure, Federal
        Rules of Evidence, and any other collateral challenges to
        your sentence of any kind?

        THE DEFENDANT: Yes, sir.

        THE COURT: Have you had a chance to discuss your
        waiver with counsel?

        THE DEFENDANT: Yes, sir.

        THE COURT: Did your counsel explain the waiver to you,
        including the rights you are and are not giving up?



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             THE DEFENDANT: Yes, sir.

             THE COURT: Are you satisfied with the advice your
             attorney gave you regarding the waiver?

             THE DEFENDANT: Yes, sir.

             THE COURT: Do you have any questions about the
             waiver?

             THE DEFENDANT: No, sir.

             THE COURT: Did anyone coerce you or promise you
             anything if you entered into the waiver?

             THE DEFENDANT: No, sir.

             THE COURT: Are you entering into the waiver
             voluntarily and of your own free will?

             THE DEFENDANT: Yes, sir.

             THE COURT: Are you satisfied you understand the
             waiver?

             THE DEFENDANT: Yes, sir.

R. Doc. No. 650, at 28–33.

      Considering the Court’s thorough explanation and Singleton’s apparent

understanding of the waiver of appeal, Singleton simply cannot claim that, but for

some error by his lawyer, he would not have pleaded guilty. As the government

argues, “It is [] unclear how any deficiencies by Singleton’s counsel during plea

negotiations changed the outcome of the proceedings to Singleton’s detriment.” R.

Doc. No. 835. Accordingly, Singleton has not established prejudice sufficient to prove

ineffective assistance of counsel.




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                                          ii.

      Singleton next asserts that his lawyer’s performance was deficient, because he

failed to conduct adequate pre-trial investigation. R. Doc. No. 798, at 4. Specifically,

he complains that his lawyer did not sufficiently inquire into allegedly false

statements made by a witness. Id.

      A failure to investigate can support a finding of ineffective assistance. See

Strickland, 466 U.S. at 691.     However, “[a] defendant who alleges a failure to

investigate on the part of his counsel must allege with specificity what the

investigation would have revealed and how it would have altered the outcome of the

[proceeding].”   Nelson v. Hargett, 989 F.2d 847, 850 (5th Cir. 1993) (quotation

omitted). Singleton has made no such specific showing here.

      Additionally, as the government notes, the factual basis Singleton verified and

signed indicates that the government’s case was “based on more than the testimony

of one witness and included testimony from other cooperators, social media posts by

Singleton and coconspirators, and physical evidence such as drugs and firearms.” R.

Doc. No. 835, at 11. In light of this evidence, Singleton has not convinced the Court

that there is a reasonable probability that additional investigation as to the one

witness would have resulted in a not guilty plea and an insistence on proceeding to

trial. Thus, he has failed to make the required showing of prejudice and cannot

prevail on his ineffective assistance claim.




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                                          iii.

      Singleton’s final ineffective assistance claim relates to his lawyer’s failure to

file a pre-trial motion to dismiss. R. Doc. No. 798, at 5. “[T]he filing of pre-trial

motions ‘falls squarely within the ambit of trial strategy.’” Schwander v. Blackburn,

750 F.2d 494, 500 (5th Cir. 1985) (quotation omitted). “A conscious and informed

decision on trial tactics and strategy cannot be the basis for constitutionally

ineffective assistance of counsel unless it is so ill chosen that it permeates the entire

[proceeding] with obvious unfairness.” Garland v. Maggio, 717 F.2d 199, 206 (5th

Cir. 1983).

      Singleton does not specify the exact grounds upon which he believes his lawyer

should have based such a motion. Nonetheless, assuming it would have “largely”

been based on the false testimony of a cooperating witness, Singleton has failed to

establish actual prejudice. R. Doc. No. 798, at 4. He simply has not demonstrated a

reasonable probability that the motion to dismiss would have been granted.

Considering the factual basis to which he admitted, Singleton has not shown how the

outcome of his case would have been any different had his lawyer filed such a motion.

                                          IV.

      Finally, Singleton argues that—in light of the Supreme Court’s holding in

Johnson v. United States, 135 S. Ct. 2551 (2015)—the sentencing guideline providing

for the enhancement applied in his case is unconstitutionally vague. See R. Doc. No.

798, at 5. However, this challenge is foreclosed by Supreme Court precedent. See




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Beckles v. United States, 137 S. Ct. 886, 895 (2016) (“[T]he advisory Sentencing

Guidelines are not subject to a vagueness challenge under the Due Process Clause.”).

      Accordingly,

      IT IS ORDERED that the defendant’s motion to vacate his sentence is

DENIED and DISMISSED WITH PREJUDICE.



      New Orleans, Louisiana, September 6, 2017.



                                          _______________________________________
                                                    LANCE M. AFRICK
                                          UNITED STATES DISTRICT JUDGE




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